                          Case 23-11027         Doc 56      Filed 10/24/23       Page 1 of 1

                                    UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF MARYLAND
                                          GREENBELT DIVISION

                                    Case No.: 23−11027 − LSS              Chapter: 7

   Optimum Construction, Inc.

                                                    Dated: 10/24/23


Dear Sir/Madam:

    Proof of Claim No.26 filed on October 24, 2023 has been entered in Case No. 23−11027 , but appears to be
defective. A review of the proof of claim indicates the following:

          Duplicate of claim number
          Amount entered in ECF has been updated to reflect the amount stated on pdf of proof of claim
          Proof of claim filed in incorrect case has been docketed in the correct case
          Missing signature of filing party
          Official Bankruptcy Form B 410 was not filed
          Other −

    Please take the appropriate action to correct the referenced proof of claim within ten (10) days of the date of this
notification.

                                                             Sincerely,

                                                             Mark A. Neal, Clerk of Court
                                                             by Deputy Clerk, Robert Hegerle 301−344−3399
